              Case 23-14208-VFP                   Doc 1      Filed 05/17/23 Entered 05/17/23 17:19:01                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Acadia Scenic Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  !50 Pacific Ave                                                 PO Box 197
                                  Jersey City, NJ 07304                                           Jersey City, NJ 07303
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hudson                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Acadia Scenic Inc                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Acadia Scenic Inc                                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Acadia Scenic Inc                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 17, 2023
                                                  MM / DD / YYYY


                             X   /s/ David Lawson                                                         David Lawson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Andre L. Kydala, Esq.                                                 Date May 17, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Andre L. Kydala, Esq. ALK-2393
                                 Printed name

                                 Law Firm of Andre L. Kydala
                                 Firm name

                                 54 Old Highway 22
                                 P.O. Box 5537
                                 Clinton, NJ 08809
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     908-735-2616                  Email address      kydalalaw@aim.com

                                 ALK-2393 NJ
                                 Bar number and State




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                        AGL Welding
                        600 Rt 46
                        Clifton, NJ 07015


                        Ameriprize
                        702000 Ameriprize Financial
                        Minneapolis, MN 55474


                        Bank of America
                        PO Box 15726
                        Wilmington, DE 19886


                        can capital
                        414 West 14th Street
                        New York, NY 10014


                        Chase Bank Card Services
                        PO Box 15153
                        Wilmington, DE 19886


                        Courier Car Rental
                        1241 Rt 23
                        Wayne, NJ 07470


                        Direct Waste
                        PO Box 384
                        East Hanover, NJ 07936


                        Eden Wood Realty
                        101 Cross Roads Dr
                        Bedminster, NJ 07921


                        EZ PASS
                        PO Box 809
                        Trenton, NJ 08625


                        Fedex
                        PO Box 1140
                        Memphis, TN 38101


                        Fire Code Enforcement
                        PO Box 809
                        Trenton, NJ 08625
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                    Grainger
                    PO Box 5275
                    Janesville, WI 53547


                    IRS
                    PO BOX 7346
                    Philadelphia, PA 19101


                    IRS
                    PO BOX 7346
                    Philadelphia, PA 19101


                    Manhattan Neon
                    Union City, NJ



                    McMasrter Carr
                    PO Box 4355
                    Chicago, IL 60680


                    Met Life
                    PO Box 371487
                    Pittsburgh, PA 15250


                    NJ CORP
                    PO Box 281
                    Trenton, NJ 08695


                    NJ DIV TAX
                    PO Box 281
                    Trenton, NJ 08645


                    NY STATE
                    PO BOX 1901
                    Albany, NY 12201


                    NY State
                    PO Box 1901
                    Albany, NY 12201


                    NY STATE DIV TAX
                    PO Box 1901
                    Albany, NY 12201
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                    Owen and Kwiecinski
                    50 Division St
                    Somerville, NJ 08876


                    PSE&G
                    PO Box 790
                    Cranford, NJ 07016


                    Seaco
                    547 West 49th St
                    New York, NY 10019


                    Tsigonia Paints
                    464 Communipaw Ave
                    Jersey City, NJ 07304


                    Verizon Wireless
                    PO Box 16803
                    Newark, NJ 07101
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                                        United States Bankruptcy Court
                                                 District of New Jersey
 In re   Acadia Scenic Inc                                                          Case No.
                                                           Debtor(s)                Chapter    7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Acadia Scenic Inc in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




May 17, 2023                                   /s/ Andre L. Kydala, Esq.
Date                                           Andre L. Kydala, Esq. ALK-2393
                                               Signature of Attorney or Litigant
                                               Counsel for Acadia Scenic Inc
                                               Law Firm of Andre L. Kydala
                                               54 Old Highway 22
                                               P.O. Box 5537
                                               Clinton, NJ 08809
                                               908-735-2616 Fax:908-735-2017
                                               kydalalaw@aim.com
